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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CABLE NEWS NETWORK, INC. and ABILIO
JAMES ACOSTA,

Plaintiffs,
Vv.

DONALD J. TRUMP, in his official capacity as
President of the United States; JOHN F. KELLY, in
his official capacity as Chief of Staff to the President
of the United States; WILLIAM SHINE, in his
official capacity as Deputy Chief of Staff to the
President of the United States; SARAH HUCKABEE
SANDERS, in her official capacity as Press Secretary
to the President of the United States; the UNITED
STATES SECRET SERVICE; RANDOLPH ALLES,
in his official capacity as Director of the United
States Secret Service; and JOHN DOE, Secret

Service Agent, in his official capacity,

Defendants.

 

 

Case No.

DECLARATION OF SAM FEIST IN SUPPORT
OF PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER
AND PRELIMINARY INJUNCTION

I, Samuel Feist, hereby declare under penalty of perjury the following:

1, I am a Senior Vice President and the Washington Bureau Chief at Cable News

Network, Inc. (“CNN”). I have personal knowledge of the content of this declaration, and I

could and would competently testify to the truth of the matters stated herein.

I. Background

2. I am a graduate of Vanderbilt University and Georgetown University Law Center

and am a member of the Bar of the District of Columbia. I have worked at CNN continuously
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since 1991. I have served as the bureau chief of CNN’s Washington bureau since 2011. As the
Washington bureau chief, I oversee daily operations of the Washington bureau and lead all
newsgathering and Washington-based programming. I also lead the production of CNN’s
campaign and election coverage, including debates, convention coverage, and election night.

3. In my role as Washington bureau chief, I oversee CNN’s coverage of the White
House and our White House correspondents, including our chief White House correspondent
Abilio James Acosta, known as Jim Acosta. Acosta has served as CNN’s chief White House
correspondent since January 2018. Previously, Acosta served as CNN’s senior White House
correspondent from August 2013 to January 2018 and as a national political correspondent from
February 2012 to August 2013. Acosta has reported for CNN since April 2007. Acosta has had
a White House hard pass since 2013, and it has been regularly renewed. As the Washington
bureau chief, I also have had a hard pass since 2011.

4, Acosta is an essential contributor to CNN’s coverage of the White House and the
President. He is exceptionally experienced in investigating and reporting rapidly developing
political events as they unfold. He has deep relationships and long-established credibility with
Washington politicians and officials of all political backgrounds. He is in the top tier of today’s
national journalists and his reputation with CNN’s viewers is one of the network’s valuable
resources, Acosta has played a leading role in CNN’s coverage of the Trump campaign and,
since January 2017, of the Trump Administration.

li. The White House “Hard Pass”

5, A White House “hard pass” is an essential credential for a White House

correspondent. The “hard pass” permits a journalist to access the White House with minimal

delay, which is a job requirement as the White House is the workplace for White House
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correspondents. Obtaining a hard pass can take months and requires a background check
performed by the Secret Service. Once obtained, the hard pass permits a journalist (with a gray
hard pass) to enter White House grounds through the northwest entrance, the same entrance used
by many White House employees (who have blue hard passes). The procedure for entry with a
hard pass is expedited: the holder swipes his pass, enters a PIN, and after passing through a metal
detector, gains access to the White House grounds. Every Secret Service agent is familiar with
the hard pass on sight. Hard pass holders are presumed legitimate and are free to move around
parts of the White House complex open to properly credentialed journalists with minimal
interference.

6. Without a credentialed chief White House correspondent, any media outlet’s
ability to cover the White House and the Presidency would be severely damaged. For that
reason, all major national media outlets ensure that their chief White House correspondents hold
hard passes so that they are guaranteed intimate access to the center of American government.
Any media outlet whose chief White House correspondent lacked a hard pass would be at a
massive competitive disadvantage against the rest of the national media whose correspondents
still hold hard passes. Today, CNN faces that very situation due to the revocation of its chief
White House correspondent’s hard pass.

7, A significant amount of newsgathering and dissemination occurs on White House
grounds, which includes dedicated press quarters in accordance with the First Amendment
protected tradition of open government. Immediately after a journalist enters through the
northwest entrance are cameras lined up on the White House lawn, where live shots of journalists
are frequently conducted. Journalists normally access the White House through the press room

entrance, which is located between the executive mansion and the West Wing reception entrance.
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Inside, adjacent to the press briefing room, there is a “lower press office,” where White House
press staff interact continuously with White House correspondents, and also work spaces for all
major networks, called “booths.” This is where Acosta and other CNN White House
correspondents perform their daily work. As it is for White House correspondents for other
networks and print media, the White House is Acosta’s everyday workplace, and he typically
writes and broadcasts directly from the White House. Acosta’s work is so closely tied to the
White House that he may not even come to CNN’s Washington bureau for weeks at a time.
Rather his workplace is the White House or on the road with the President when the President
travels. Being physically present in the White House or with the President when he travels is a
fundamental part of being a White House correspondent.

8. Hard pass holders can also easily access the “upper press office,” another key area
of interaction between White House correspondents and White House staff. The upper press
office is in the “West Wing” of the White House, steps away from the Oval Office, includes the
offices of the Press Secretary (currently, Sarah Huckabee Sanders), and the Communications
Director (currently Bill Shine.) This area is guarded by Secret Service officers, but easily
accessible by hard pass holders because the Secret Service recognizes the credential.

9. Newsgathering at the White House is performed in a variety of ways, many of
which are spontaneous and take place with little to no notice, and which therefore require instant
access to the White House. There is a procedure for journalists without a hard-pass to access the

‘hite House through a White House-issued day pass. A day pass requires a journalist to request
permission to enter the White House on a specific day, and the request must be made 24 hours in

advance, A day pass is valid only for the specific date requested. Day passes are not typically
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an effective way to credential a permanent member of any news organization’s White House
team.

10. In addition to scheduled briefings, in the upper press office, “gaggles” between
journalists and the Press Secretary, Deputy Press Secretary, or other government officials or
elected leaders are a common, daily occurrence, taking place with little to no notice. Journalists
also frequently talk to the Press Secretary and Deputy Press Secretaries one-on-one, to ask
questions both on and off the record without notice of appointment. There are also frequent off-
camera, unscheduled, background briefings in the White House briefing room. Access to the
material from these off-camera briefings is not possible unless a reporter is physically present in
the White House briefing room. These and other types of spontaneous newsgathering are not
feasible for a journalist with only access to a day pass.

11. The hard pass has proven, if anything, even more important in covering President
Trump. There are frequent spontaneous press briefings and other open-press events that are held
without notice whatsoever. Open-press events are open to all credentialed White House
Correspondents. Reliance on daily passes to access to these spontaneous events is impracticable
at best, impossible at worst, due to the spontaneous nature of these events.

12. A hard pass is also essential to the recognition of a journalists’ legitimacy in the
West Wing. It is such an essential credential that the application for membership in the White
House Correspondents’ Association, the premier professional organization for White House
correspondents, asks whether the applicant has a White House hard pass.

13. A hard pass is also essential to a journalist’s ability to gather news about the
President away from the White House, when traveling with the President. Hard passes are

recognized by the Secret Service and journalists with hard passes are given access to the
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“bubble”! of the President without delay and without being questioned, while such access may be
delayed or denied for other journalists. As someone who has covered the White House for two
decades and has supervised many other journalists covering the White House, possession of a
hard pass has a significant, positive impact on the amount of access a journalist can obtain to the
President and his entourage in the field.

14. Hard passes are subject to periodic renewal and are generally renewed as long as
they are being actively used. Hard passes may not be renewed if the journalist in question has
not reported to the White House regularly because the White House wants to ensure for security
reasons that there are a limited number of passes in circulation. It is virtually unheard of for a
hard pass to be revoked, and the only instance of that happening of which | am aware occurred
when a freelance reporter, ‘rude Feldman, was caught in the Press Secretary’s office, looking
through papers on the Press Secretary’s desk. Even in that case, Ms. Feldman’s pass was
suspended for 90 days, not revoked entirely, and the suspension had nothing to do with the
content of her reporting. I am not aware of any CNN journalist who has ever had a hard pass
suspended or revoked.?

III. The Revocation of Acosta’s Hard Pass and CNN’s Response
15. I first learned that Acosta’s hard pass had been revoked at approximately 8 PM on

November 7, 2018, when Olivier Knox, President of the White House Correspondents

 

' The “bubble” is a term used by journalists to refer to the President and his entourage.

* See Martha Bryant, “West Wing Story: The Characters of the White House Press Corps,”
Newsweek (May 15, 2001) (“According to security, Feldman was caught one night (the
White House press area closes at 8:30 p.m. rifling through a press aide’s desk drawers a few
months ago. Some staffers wanted to revoke her pass; instead the White House suspended it
for 90 days.”), available at https://www.newsweek.com/west-wing-story-characters-white-
house-press-corps-152523.
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Association contacted me by phone. He notified me that moments before, Press Secretary Sarah
Sanders had released a statement that Acosta’s pass had been revoked.

16. This revocation was done with no notice to either Acosta or the network, and
with no opportunity to be heard.

17. Over more than two decades of experience as a Washington journalist, I have
attended dozens of White House press briefings and press conferences and been involved in the
coverage of hundreds more. I have watched the video of the November 7, 2018 press
conference, and I believe Acosta’s questions were wholly appropriate questions within
professional norms, and within the norms of the White House press corps. When the President
chose to avoid Jim Acosta’s question by attacking Jim personally and by asking Acosta to sit
down, Jim continued to stand. An effective correspondent cannot simply sit down when the
President or other public official avoids a question through interruptions and personal attacks.

18. The revocation of Acosta’s hard pass has had immediate consequences both for
him professionally and for CNN as a news organization. CNN has requested, and was denied, a
day pass for Acosta, so he has been denied the access to the White House and staff that is
necessary for him to perform his job, frustrating CNN’s efforts to fulfill its own mission to
deliver the news.

19, Acosta was the correspondent previously slated to attend the President’s trip to
France this past weekend. I have described above the importance of a hard pass even to covering
the President in remote locations. Acosta was also denied a White House credential for the
President’s most important event in France, a visit to an American military cemetery on the 100%
Anniversary of the end of World War One on November 11". When the White House denied

Acosta’s credential for the trip, the French Government then issued him a credential for the visit.
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See Ex. 52.3 It was not without irony to me that a U.S. Whitc House correspondent who is an

American Citizen was denied access to a ceremony by his own government but was granted

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y the government of France. However, when Acosta arrived at the cemetery, despite

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having a press credential from the French government to cover the event, he was denied access
by the U.S. Secret Service. Other credentialed journalists from around the world were permitted
entry for this “open press” event but Jim Acosta was singled out by the U.S. government and
denied access. Here, Jim’s ability to cover a public event of historic international importance
was completely blocked by the White House. Blocking Jim Acosta from the event also denied
CNN the ability for CNN’s chief White House correspondent to report from the cemetery and
offer our viewers coverage of that important and newsworthy event.

20. Following the revocation of Acosta’s hard pass, President Trump has continued to

House lawn, CNN White House Correspondent Abby Phillip asked President Trump whether he
wanted newly-appointed Acting Attorney General Matthew Whitaker to “rein in Robert
Mueller.” President Trump replied: “What a stupid question that is. What a stupid

question. But I watch you a lot, you ask a lot of stupid questions.” Ex. 51.

21. As I described above, without a credentialed chief White House correspondent,
any media outlet’s ability to cover the White House and the Presidency is severely damaged.
Today, CNN faces that very situation due to the revocation of its chief White House
coirespondent’s hard pass. Moreover, Acosta has been denied day passes as well as other

credentials necessary to cover the President fully.

 

3 References to “Ex. __” are to the Exhibits to the Declaration of Theodore J. Boutrous, Jr.,
dated November 13, 2018.
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22. [have reached out to White House officials including the Press Secretary, Sarah
Huckabee Sanders, and the Director of Communications, Bill Shine, on the evening of
November 7 and again on November 8, to ask when they would reinstate Acosta’s hard pass, but
I have received no answer. CNN’s leadership has also reached out to the White House Chief of
Staff and acting White House Counsel to request the reinstatement of Acosta’s hard pass, and
while receipt of the letter was acknowledged by the acting White House Counsel, neither the
Chief of Staff nor the Counsel responded to CNN’s request. Ex. 45. I understand that the White
House Correspondents’ Association has also been in contact with White House officials
regarding the revocation of Acosta’s hard pass.

23. As of today, the White House has not agreed to return Acosta’s hard pass. I
understand that White House officials have communicated that they currently do not plan ever to
return his hard pass.

24, I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 12th day of November 2018 in Washington, D.C.

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Samuel Feist = 7 (
